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                  UNITED STATES COURT OF INTERNATIONAL TRADE

                             )
CORNERSTONE CHEMICAL COMPANY )
                             )
              Plaintiff,     )
                             )
     v.                      )
                             )                             Court No. 25-00021
                             )
UNITED STATES
                             )
                             )
              Defendant.     )


                                        COMPLAINT

       Plaintiff Cornerstone Chemical Company ("Cornerstone"), by and through its attorneys,

alleges and states as follows:

                                      JURISDICTION

       1.      This action challenges the termination by the U.S. International Trade

Commission (“Commission”) of its antidumping injury investigation into melamine from Qatar.

Notice of this termination was published in the Federal Register on December 20, 2024. See

Melamine from Qatar; Termination of Investigation, 89 Fed. Reg. 104,206 (Int’l Trade Comm’n

Dec. 20, 2024).

       2.      The Commission terminated its antidumping investigation into melamine from

Qatar because the U.S. Department of Commerce (“Commerce”) made a negative final

determination in its antidumping investigation of melamine from Qatar, as published in the

Federal Register. See id. (“On December 9, 2024, the Department of Commerce published

notice in the Federal Register of a negative final antidumping duty determination in connection

with the subject investigation concerning Qatar. Accordingly, the antidumping duty

investigation concerning melamine from Qatar (Investigation No. 731–TA–1671 (Final)) is

terminated.”); see also Melamine From Qatar: Final Negative Determination of Sales at Less

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Than Fair Value and Final Negative Determination of Critical Circumstances, 89 Fed. Reg.

97,592 (Dep’t Commerce Dec. 9, 2024).

       3.      Cornerstone has separately challenged Commerce’s negative final

determination in its antidumping investigation involving melamine from Qatar. See

Cornerstone Chemical Company v. United States, Ct. No. 25-00005. However, because the

Commission has terminated its antidumping injury investigation with respect to Qatar, it

cannot make an affirmative determination that an industry in the United States is materially

injured or threatened with material injury by reason of dumped imports of melamine from

Qatar. See 19 U.S.C. § 1673d(b)(l). Without such a finding, Commerce would not be able to

implement an antidumping duty order on melamine from Qatar if Cornerstone prevails in its

pending appeal of Commerce’s negative determination. See 19 U.S.C. § 1673d(c)(2)

(providing that affirmative final determinations by both Commerce and the Commission are

necessary for the issuance of an antidumping duty order). As a practical matter, therefore,

the Commission’s termination of its investigation constitutes a final negative determination

by the Commission under 19 U.S.C. § 1673d(b)(1).

       4.      This action is commenced under 19 U.S.C. § 1516a(a)(2)(A)(i)(I) and 19

U.S.C. § 1516a(a)(2)(B)(ii), which govern appeals of negative final determinations by the

Commission under 19 U.S.C. § 1673d. Accordingly, this Court has jurisdiction over this case

pursuant to 28 U.S.C. § 1581(c), which vests the Court with exclusive jurisdiction over civil

actions commenced under 19 U.S.C. § 1516a. See Ereğli Demir ve Çelik Fabrikaları T.A.Ş. v.

United States Int’l Trade Comm’n , 723 F. Supp. 3d 1354, 1368-1369 (CIT 2024) (citing

previous, concurrent appeals under 28 U.S.C. § 1581(c) of a Commerce negative final

antidumping determination and a consequent Commission termination of its antidumping



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investigation with respect to oil country tubular goods from Saudi Arabia for the proposition that

jurisdiction “could have been available” under 28 U.S.C. § 1581(c) in the case at issue).

      5.       In the alternative, Cornerstone alleges that this Court has jurisdiction pursuant

to 28 U.S.C. § 1581(i). This provision applies to cases that are not reviewable under 19

U.S.C. § 1516a, but which otherwise arise out of any law of the United States providing for

(1) revenue from imports or tonnage; (2) tariffs, duties, fees, or other taxes on the

importation of merchandise for reasons other than the raising of revenue; or (3) the

administration and enforcement of such matters. Pursuant to 28 U.S.C. § 1581(i), this Court

has exclusive jurisdiction over such matters. Thus, even assuming arguendo that this Court

does not have jurisdiction pursuant to 28 U.S.C. § 1581(c), it would have jurisdiction

pursuant to 28 U.S.C. § 1581(i).

                                          STANDING

        6.      Plaintiff Cornerstone is a domestic manufacturer of melamine, the domestic like

product, and is therefore an interested party as defined in 19 U.S.C. § 1677(9)(C).

        7.      As described above, this appeal is brought pursuant to 19 U.S.C. § 1516a and 28

U.S.C. § 158l(c). Cornerstone was a party to the administrative proceeding that resulted in the

contested determination, and Cornerstone participated in that proceeding by, inter alia, filing

briefs with the Commission. Cornerstone is therefore entitled to commence this action pursuant

to 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).

        8.      Alternatively, if the Court exercises jurisdiction over this proceeding pursuant to

28 U.S.C. § 1581(i), Cornerstone has standing to bring this action under 28 U.S.C. § 2631(i).

That provision states that any civil action over which this Court has jurisdiction – other than

actions specified in 28 U.S.C. §§ 263 l(a)-(h) – “may be commenced in the court by any person



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adversely affected or aggrieved by agency action within the meaning of section 702 of title 5.”

28 U.S.C. § 2631(i). Given that it is a domestic producer of melamine that has sought relief

from unfairly traded and injurious imports of melamine from Qatar, Cornerstone is aggrieved

by the Commission’s termination of its investigation, which could preclude the imposition of

antidumping duties on imports of melamine from Qatar if Cornerstone prevails in its appeal of

Commerce’s negative final antidumping determination with respect to those same imports.

                             TIMELINESS OF THE ACTION

       9.      The Commission’s termination of its antidumping investigation into

melamine from Qatar was published in the Federal Register on December 20, 2024. See

Melamine from Qatar; Termination of Investigation, 89 Fed. Reg. 104206 (Int’l Trade

Comm’n Dec. 20, 2024).

        10.    As shown above, this Court has jurisdiction based on 19 U.S.C. § 1516a and

28 U.S.C. § 1581(c). Cornerstone is timely filing this complaint and the accompanying

summons within 30 days of the publication of the notice of the contested termination, in

accordance with 19 U.S.C. § 15l6a(a)(2)(A), as well as Rule 3(a)(2) of this Court.

       11.     Alternatively, if the Court exercises jurisdiction over this proceeding pursuant

to 28 U.S.C. § 1581(i), Cornerstone is timely filing this complaint and the accompanying

summons within two years of the publication of the contested termination, in accordance with

28 U.S.C. § 2636(i).

                                 PROCEDURAL HISTORY

       12.     On February 14, 2024, Cornerstone filed antidumping and countervailing

duty petitions with Commerce and the Commission alleging that a domestic industry was

materially injured or threatened with material injury by reason of unfairly traded imports of



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melamine from Germany, India, Japan, the Netherlands, Qatar, and Trinidad and Tobago.

With respect to imports of melamine from Qatar, Cornerstone petitioned for both

antidumping duties and countervailing duties.

       13.     On December 2, 2024, Commerce made a negative final determination in its

antidumping investigation regarding melamine from Qatar, and this determination was

published in the Federal Register on December 9, 2024. Melamine from Qatar: Final

Negative Determination of Sales at Less Than Fair Value and Final Negative Determination

of Critical Circumstances, 89 Fed. Reg. 97,592 (Dep’t Commerce Dec. 9, 2024). Also on

December 9, 2024, Commerce published its affirmative final determination in its

countervailing duty investigation of melamine from Qatar. Melamine From Qatar: Final

Affirmative Countervailing Duty Determination and Final Negative Critical Circumstances

Determination, 89 Fed. Reg. 97,593 (Dep’t Commerce Dec. 9, 2024).

       14.     On December 17, 2024, the Commission terminated its antidumping

investigation into melamine from Qatar because Commerce made a negative final

determination in its antidumping investigation of melamine from Qatar, and the Commission

published this termination notice in the Federal Register on December 20, 2024. Melamine

from Qatar; Termination of Investigation, 89 Fed. Reg. 104,206 (Int’l Trade Comm’n Dec.

20, 2024). However, in a vote on January 7, 2025, the Commission made an affirmative

material injury determination in its Qatar countervailing duty investigation, along with

affirmative material injury or threat determinations pertaining to imports from Germany,

Japan, the Netherlands, and Trinidad and Tobago. Commission Press Release, Melamine

from Germany, Japan, Netherlands, Qatar, and Trinidad and Tobago Injures U.S. Industry,

Says USITC (Jan. 7, 2025). Thus, the Commission found that same imports from Qatar at



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issue in its terminated antidumping investigation caused material injury to the U.S. melamine

industry for purposes of its Qatar countervailing duty investigation.

        15.     On January 8, 2025, Cornerstone appealed Commerce’s negative final

determination in its antidumping investigation regarding melamine from Qatar by filing a

summons with this Court. That appeal is currently before this Court as Court No. 25-00005.

                                 STATEMENT OF CLAIMS

                                          First Count

        16.     Paragraphs 1-15 are hereby incorporated by reference.

        17.     The Commission’s December 20, 2024 notice terminating its antidumping

investigation into melamine from Qatar, makes clear that this investigation was terminated

because of Commerce’ negative final antidumping determination, which led to Commerce’s

termination of its investigation. See Melamine from Qatar; Termination of Investigation, 89

Fed. Reg. 104,206 (Int’l Trade Comm’n Dec. 20, 2024); 19 C.F.R. 207.40(a).

        18.     Cornerstone has challenged Commerce’s negative final determination in a

separate appeal to this Court. In that appeal, Cornerstone will demonstrate that

Commerce’s negative final antidumping determination is not supported by substantial

evidence and is otherwise not in accordance with law.

        19.    Because Commerce’s negative final antidumping determination is not

supported by substantial evidence and is otherwise not in accordance with law, the

Commission’s termination of its own antidumping injury investigation into melamine from

Qatar is also not supported by substantial evidence and is otherwise not in accordance with

law.




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                         DEMAND FOR JUDGMENT AND RELIEF

       WHEREFORE, Plaintiff Cornerstone respectfully requests that this Court:

       1.      Hold and declare that the Commission’s termination of its antidumping

 investigation into melamine from Qatar is not supported by substantial evidence and is

 otherwise not in accordance with law;

       2.     Remand this matter to the Commission for a final antidumping

 determination with respect to melamine from Qatar; and

       3.     Grant such further relief that this Court may deem just and appropriate



                                            Respectfully submitted,


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Date: January 17, 2025




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